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                                                                               October 20, 2020

VIA ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square, Room 2204
New York, NY 10007

Re:     Christopher Peterson v. CBS Studios Inc., Case No. 1:20-cv-4902 (PGG)

Dear Judge Gardephe:

We represent Defendant CBS Studios Inc. (“CBS”) in the above-referenced action.

Pursuant to the Notice of Pretrial Conference 1 (Dkt. No. 4) and Rules I.A., I.D, and I.E. of Your
Honor’s Individual Rules of Practice in Civil Cases, CBS respectfully requests an extension of
time for the parties to submit their (A) joint letter addressing (1) a brief description of the case,
including the factual and legal bases for the claim and defenses; (2) any contemplated motions;
and (3) the prospect for settlement, and (B) jointly proposed Case Management Plan. These
documents are currently due on October 22, 2020, and CBS requests an extension to file until on
or after December 3, 2020. This is CBS’s second request for an extension in this action. CBS
previously requested an extension for its deadline to answer, move, or otherwise respond to
Plaintiff’s Complaint, which the Court granted. CBS makes this request because, though its
counsel made several attempts since July to contact Plaintiff’s counsel about resolving this case,
CBS’s counsel has not received a response until today. Plaintiff’s counsel consents to this request.

This requested extension, furthermore, affects the scheduled initial pretrial conference on October
29, 2020 at 10:30 a.m. CBS respectfully requests an adjournment of the conference until on or
after December 10, 2020 on a date convenient for the Court to give the parties additional time to
try to resolve this matter. Plaintiff’s counsel consents to the adjournment.



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          Counsel for CBS viewed the Notice of Pretrial Conference on the docket and was not served with a copy of
it or the Court’s Individual Rules of Practice by Plaintiff’s counsel, Richard Liebowitz, until after CBS’s counsel
provided Mr. Liebowitz with a courtesy copy of this letter alerting him of his obligations.




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Sincerely,

VIACOMCBS LAW DEPARTMENT

/s/ Elizabeth Dunn

Elizabeth Dunn

cc:    All counsel of record via ECF




      MEMO ENDORSED

      The deadline to submit a joint pretrial letter and case management plan is
      extended to December 3, 2020.

      The conference previously scheduled for October 29, 2020 is adjourned
      to December 10, 2020 at 10:00 am.




      October 21, 2020




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